                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

MCARTHUR GRIFFIN                                 §
                                                 §
Plaintiff                                        §
                                                 § CIVIL ACTION NO.: 3:20-92-BAJ-EWD
                                                 §
Versus                                           §
                                                 §
REC MARINE LOGISTICS LLC, ET AL.                 § TRIAL BY JURY DEMANDED
                                                 §
Defendants                                       §



    PLAINTIFF’S MOTION TO ENFORCE, COMPEL DISCOVERY, AND SANCTIONS
                      FOR VIOLATING COURT ORDERS


         For the reasons more fully set forth in his Memorandum in Support, Plaintiff, McArthur

Griffin, respectfully seeks the following:

         1. Against and/or from Defendant Rec Marine Logistics LLC (“Rec Marine”):

                a. Sanctions including the striking of pleadings and the establishment of

                   negligence liability against Rec Marine for violating the written order of Judge

                   Trudy White issued on October 13, 2019 ordering Rec Marine to respond to

                   Plaintiff’s requests for production and interrogatories served August 9, 2019 by

                   October 23, 2019;1

                b. Enforcement of the aforementioned prior outstanding order;

                c. Order compelling complete Rule 26 disclosures; and

                d. Order requiring payment of attorneys’ fees.



1
 To date, more than six months later and a year into this lawsuit, Rec Marine has produced nothing
and has not answered a single interrogatory.
2. Against and/or from Defendant Gulf Offshore Logistics LLC (“Gulf Offshore”):

       a. Order compelling Gulf Offshore to provide disclosures mandated by Rule 26,

          which Gulf Offshore has wholly failed to provide;

       b. Order compelling Gulf Offshore to respond to requests for production and

          interrogatories sent January 9, 2020, which were not objected or responded to

          within 30 days (a period that expired before removal on February 17, 2020);

          and

       c. Order requiring payment of attorneys’ fees.

3. Against and/or from Defendant GOL LLC (“GOL”):

       a. Order compelling GOL to provide disclosures mandated by Rule 26, which

          GOL has wholly refused to provide;

       b. Order compelling GOL to respond to requests for production and

          interrogatories sent January 9, 2020, which were not objected or responded to

          within 30 days (a period that expired before removal on February 17, 2020);

          and

       c. Order requiring payment of attorneys’ fees.

4. Against and/or from Defendant Offshore Transport Services LLC (“OTS”):

       a. Order compelling OTS to respond to requests for production and interrogatories

          sent January 9, 2020, which were not objected or responded to within 30 days

          (a period that expired before removal on February 17, 2020);

       b. Order compelling complete Rule 26 disclosures; and

       c. Order requiring payment of attorneys’ fees.
       Plaintiff requests that the Court grant this Motion and the relief requested above along with

any other relief Plaintiff may be justly entitled.

                                                     Respectfully Submitted,

                                                     MORROW & SHEPPARD LLP

                                                         /s/ Daniel E. Sheppard
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                                                     COUNSEL FOR PLAINTIFF
                                CERTIFICATE OF CONFERENCE

Counsel for Plaintiff attempted to confer with Fred Salley, counsel for REC, GOL, Gulf Offshore,
and OTS, on multiple occasions regarding the relief requested.

                                   CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of this document was served on counsel of record via
CM/ECF on May 14, 2020.


                                                    /s/Daniel E. Sheppard
                                                    Daniel E. Sheppard
